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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
US DOMINION, INC., DOMINION                  )
VOTING SYSTEMS, INC., and                    )
DOMINION VOTING SYSTEMS                      )
CORPORATION,                                 )
                                             )
               Plaintiffs,                   )              Case No. 1:21-cv-00445-CJN
                                             )                Judge Carl J. Nichols
       v.                                    )
                                             )
MY PILLOW, INC. and                          )
MICHAEL J. LINDELL                           )
                                             )
               Defendants.                   )
                                             )


                     NOTICE OF ENTRY OF APPEARANCE
______________________________________________________________________________
TO:    THE CLERK OF COURT AND ALL PARTIES OF RECORD

       Matthew R. Eslick of Parker Daniels Kibort LLC hereby enters an appearance as counsel

for Defendants My Pillow, Inc., and Michael J. Lindell (collectively, “Defendants”) in the above-

captioned action pursuant to Local Civil Rule 83.6, subdivision (a).


DATED: October 20, 2022                      PARKER DANIELS KIBORT LLC

                                              By /s/ Matthew R. Eslick
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                                                 *Admitted Pro Hac Vice

                                                 Counsel for Defendants My Pillow, Inc., and
                                                 Michael J. Lindell
